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Search:

Creating a Search Interface

When you're ready to add search functionality to your
application, Android helps you implement the user interface
with either a search dialog that appears at the top of the
activity window or a search widget that you can insert in your
layout. Both the search dialog and the widget can deliver the
user's search query to a specific activity in your application.
This way, the user can initiate a search from any activity
where the search dialog or widget is available, and the
system starts the appropriate activity to perform the search
and present results.

Other features available for the search dialog and widget
include:

* Voice search
* Search suggestions based on recent queries

* Search suggestions that match actual results in your
application data

This guide shows you how to set up your application to
provide a search interface that's assisted by the Android
system to deliver search queries, using either the search
dialog or the search widget.

The Basics

Before you begin, you should decide whether you'll
implement your search interface using the search dialog or
the search widget. Both provide the same search features,
but in slightly different ways:

+ The search dialog is a Ul component that's controlled
by the Android system. When activated by the user, the
search dialog appears at the top of the activity, as shown
in figure 1.

The Android system controls all events in the search
dialog. When the user submits a query, the system

delivers the query to the activity that you specify to handle searches. The dialog can also provide search suggestions

while the user types.

Quickview

+ The Android system sends search queries from
the search dialog or widget to an activity you
specify to perform searches and present results

* You can put the search widget in the Action
Bar, as an “action view," for quick access

In this document
The Basics
Creating a Searchable Confiquration
Creating a Searchable Activity
Declaring a searchable activity
Performing a search
Using the Search Dialog
Invoking the search dialog
The impact of the search dialog on your

activity lifecycle

Passing search context data
Using the Search Widget

Other search widget features

Using both the widget and the dialog
Adding Voice Search
Adding Search Suagestions

Key classes
SearchManager

SearchView

Related samples
Searchable Dictionary
SearchView in the Action Bar
SearchView filter mode

Downloads

See also

Adding Recent Query Suggestions
Adding Custom Suggestions
Searchable Configuration

* The search widget is an instance of SearchView that you can place anywhere in your layout. By default, the
search widget behaves like a standard EditText widget and doesn't do anything, but you can configure it so that
the Android system handles all input events, delivers queries to the appropriate activity, and provides search

suggestions (just like the search dialog). However, the search widget is available only in Android 3.0 (API Level 11)

and higher.

http://developer.android.com/guide/topics/search/search-dialog.html

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Note: If you want, you can handle all user input into the search

widget yourself, using various callback methods and listeners. td ie 4:56 PM
| This document, however, focuses on how to integrate the ee
search widget with the system for an assisted search @ |bearch the dictionary Q

implementation. If you want to handle all user input yourself,
read the reference documentation for SearchView and its
nested interfaces.

When the user executes a search from the search dialog or a search
widget, the system creates an Intent and stores the user query in it.
The system then starts the activity that you've declared to handle Fe] ereleyare|
searches (the "searchable activity") and delivers it the intent. To set up Pasta laine ee Tatacey ar
your application for this kind of assisted search, you need the following:

Fl ewisales

* Asearchable configuration

An XML file that configures some settings for the search dialog or
widget. It includes settings for features such as voice search,
search suggestion, and hint text for the search box.

* Asearchable activity PPO pu ie tit]

OP ae ee

The Activity that receives the search query, searches your
data, and displays the search results.

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oh PPIs POE WON lydia ian

+ Asearch interface, provided by either:

ol

° The search dialog

By default, the search dialog is hidden, but appears at the top
of the screen when the user presses the device SEARCH
button (when available) or another button in your user
interface.

Figure 1. Screenshot of an application's
search dialog.

> Or, a SearchView widget

Using the search widget allows you to put the search box anywhere in your activity. Instead of putting it in your
activity layout, however, it's usually more convenient for users as an action view in the Action Bar.

The rest of this document shows you how to create the searchable configuration, searchable activity, and implement a
search interface with either the search dialog or search widget.

Creating a Searchable Configuration

The first thing you need is an XML file called the searchable configuration. It configures certain Ul aspects of the search
dialog or widget and defines how features such as suggestions and voice search behave. This file is traditionally named
searchable.xml and must be saved in the res/xml1/ project directory.

| Note: The system uses this file to instantiate a SearchableInfo object, but you cannot create this object yourself
| at runtime—you must declare the searchable configuration in XML.

The searchable configuration file must include the <searchable> element as the root node and specify one or more
attributes. For example:

<?xml version="1.0" encoding="utf-8"?>
<searchable xmlns:android="http://schemas.android.com/apk/res/android"
android: label="@string/app_ label"

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android:hint="@string/search_hint" >
</searchable>

The android: label attribute is the only required attribute. It points to a string resource, which should be the application
name. This label isn't actually visible to the user until you enable search suggestions for Quick Search Box. At that point,
this label is visible in the list of Searchable items in the system Settings.

Though it's not required, we recommend that you always include the android:hint attribute, which provides a hint
string in the search box before users enters a query. The hint is important because it provides important clues to users
about what they can search.

Tip: For consistency among other Android applications, you should format the string for android:hint as
"Search <content-or-product>". For example, "Search songs and artists" or "Search YouTube".

The <searchable> element accepts several other attributes. However, you don't need most attributes until you add
features such as search suggestions and voice search. For detailed information about the searchable configuration file,
see the Searchable Configuration reference document.

Creating a Searchable Activity

A searchable activity is the Activity in your application that performs searches based on a query string and presents
the search results.

When the user executes a search in the search dialog or widget, the system starts your searchable activity and delivers it
the search query in an Intent with the ACTION SEARCH action. Your searchable activity retrieves the query from the
intent's QUERY extra, then searches your data and presents the results.

Because you may include the search dialog or widget in any other activity in your application, the system must know
which activity is your searchable activity, so it can properly deliver the search query. So, you must first declare your
searchable activity in the Android manifest file.

Declaring a searchable activity

If you don't have one already, create an Activity that will perform searches and present results. You don't need to
implement the search functionality yet—just create an activity that you can declare in the manifest. Inside the manifest's

<activity> element:

1. Declare the activity to accept the ACTION SEARCH intent, in an <intent-filter> element.

2. Specify the searchable configuration to use, ina <meta-data> element.

For example:

<application ... >
<activity android:name=".SearchableActivity" >
<intent-filter>
<action android:name="android.intent.action.SEARCH" />
</intent-filter>
<meta-data android:name="android.app.searchable"
android: resource="@xml/searchable"/>
</activity>

</application>

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The <meta-data> element must include the android:name attribute with a value of "android.app.searchable"
and the android: resource attribute with a reference to the searchable configuration file (in this example, it refers to
the res/xml/searchable.xml file).

Note: The <intent-filter> does not need a <category> with the DEFAULT value (which you usually see in
<activity> elements), because the system delivers the ACTION SEARCH intent explicitly to your searchable
activity, using its component name.

Performing a search

Once you have declared your searchable activity in the manifest, performing a search in your searchable activity involves
three steps:

1. Receiving the query

2. Searching your data
3. Presenting the results

Traditionally, your search results should be presented in a ListView, so you might want your searchable activity to
extend ListActivity. It includes a default layout with a single List View and provides several convenience methods
for working with the ListView.

Receiving the query

When a user executes a search from the search dialog or widget, the system starts your searchable activity and sends it
a ACTION SEARCH intent. This intent carries the search query in the QUERY string extra. You must check for this intent
when the activity starts and extract the string. For example, here's how you can get the search query when your
searchable activity starts:

@Override

public void onCreate (Bundle savedInstanceState) {
super .onCreate(savedInstanceState) ;
setContentView(R.layout.search) ;

// Get the intent, verify the action and get the query

Intent intent = getIntent();

if (Inmtent.ACTION SEARCH.equals(intent.getAction())) {
String query = intent.getStringExtra(SearchManager.QUERY) ;
doMySearch (query) ;

}

The QUERY string is always included with the ACTION SEARCH intent. In this example, the query is retrieved and passed
to a local doMySearch() method where the actual search operation is done.

Searching your data

The process of storing and searching your data is unique to your application. You can store and search your data in many
ways, but this guide does not show you how to store your data and search it. Storing and searching your data is
something you should carefully consider in terms of your needs and your data format. However, here are some tips you
might be able to apply:

+ If your data is stored in a SQLite database on the device, performing a full-text search (using FTS3, rather than a
LIKE query) can provide a more robust search across text data and can produce results significantly faster. See
sqlite.org for information about FTS3 and the SQLiteDatabase class for information about SQLite on Android. Also
look at the Searchable Dictionary sample application to see a complete SQLite implementation that performs
searches with FTS3.

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* If your data is stored online, then the perceived search performance might be inhibited by the user's data connection.
You might want to display a spinning progress wheel until your search returns. See android.net for a reference of

network APIs and Creating a Progress Dialog for information about how to display a progress wheel.

Regardless of where your data lives and how you search it,
we recommend that you return search results to your
searchable activity with an Adapter. This way, you can
easily present all the search results in a ListView. If your
data comes from a SQLite database query, you can apply
your results to a ListView using a CursorAdapter. If your
data comes in some other type of format, then you can create
an extension of BaseAdapter.

Presenting the results

As discussed above, the recommended UI for your search
results is a ListView, So you might want your searchable
activity to extend ListActivity. You can then call
setListAdapter (), passing it an Adapter that is bound
to your data. This injects all the search results into the activity
ListView.

About Adapters

An Adapter binds each item from a set of data into a
View object. When the Adapter is applied to a
ListView, each piece of data is inserted as an
individual view into the list. Adapter is just an
interface, so implementations such as
CursorAdapter (for binding data from a Cursor)
are needed. If none of the existing implementations
work for your data, then you can implement your own
from BaseAdapter. Install the SDK Samples package
for API Level 4 to see the original version of the
Searchable Dictionary, which creates a custom
adapter to read data from a file.

For more help presenting your results in a list, see the ListActivity documentation.

Also see the Searchable Dictionary sample for an a complete demonstration of how to search an SQLite database and

use an Adapter to provide results in a ListView.

Using the Search Dialog

The search dialog provides a floating search box at the top of
the screen, with the application icon on the left. The search
dialog can provide search suggestions as the user types and,
when the user executes a search, the system sends the
search query to a searchable activity that performs the
search. However, if you are developing your application for
devices running Android 3.0, you should consider using the
search widget instead (see the side box).

The search dialog is always hidden by default, until the user
activates it. If the user's device includes a SEARCH button,
pressing it will activate the search dialog by default. Your
application can also activate the search dialog on demand by
calling onSearchRequested (). However, neither of these
work until you enable the search dialog for the activity.

To enable the search dialog, you must indicate to the system
which searchable activity should receive search queries from
the search dialog, in order to perform searches. For example,
in the previous section about Creating a Searchable Activity,
a searchable activity named SearchableActivity was
created. If you want a separate activity, named
OtherActivity, to show the search dialog and deliver
searches to SearchableActivity, you must declare in the

Should | use the search dialog or the widget?

The answer depends mostly on whether you are
developing for Android 3.0 (API Level 11 or higher),
because the SearchView widget was introduced in
Android 3.0. So, if you are developing your application
for a version of Android lower than 3.0, the search
widget is not an option and you should use the search
dialog to implement your search interface.

If you are developing for Android 3.0 or higher, then
the decision depends more on your needs. In most
cases, we recommend that you use the search widget
as an "action view" in the Action Bar. However, it might
not be an option for you to put the search widget in the
Action Bar for some reason (perhaps there's not
enough space or you don't use the Action Bar). So,
you might instead want to put the search widget
somewhere in your activity layout. And if all else fails,
you can still use the search dialog if you prefer to keep
the search box hidden. In fact, you might want to offer
both the dialog and the widget in some cases. For
more information about the widget, skip to Using the
search Widget.

manifest that SearchableActivity is the searchable activity to use for the search dialog in OtherActivity.

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To declare the searchable activity for an activity's search dialog, add a <meta-data> element inside the respective
activity's <activity> element. The <meta-data> element must include the android: value attribute that specifies
the searchable activity's class name and the android:name attribute with a value of
"android.app.default_searchable"

For example, here is the declaration for both a searchable activity, SearchableActivity, and another activity,
OtherActivity, which uses SearchableActivity to perform searches executed from its search dialog:

<application ... >
<!-- this is the searchable activity; it performs searches -->
<activity android:name=".SearchableActivity" >
<intent-filter>
<action android:name="android.intent.action.SEARCH" />
</intent-filter>
<meta-data android:name="android.app.searchable"
android: resource="@xml/searchable"/>
</activity>

<!-- this activity enables the search dialog to initiate searches
in the SearchableActivity -->
<activity android:name=".OtherActivity" ... >
<!-- enable the search dialog to send searches to SearchableActivity -->
<meta-data android:name="android.app.default searchable"
android:value=".SearchableActivity" />
</activity>

</application>

Because the OtherActivity now includes a <meta-data> element to declare which searchable activity to use for
searches, the activity has enabled the search dialog. While the user is in this activity, the device SEARCH button (if
available) and the onSearchRequested() method will activate the search dialog. When the user executes the search,
the system starts SearchableActivity and delivers it the ACTION SEARCH intent.

Note: The searchable activity itself provides the search dialog by default, so you don't need to add this declaration
to SearchableActivity.

If you want every activity in your application to provide the search dialog, insert the above <meta-data> element as a
child of the <application> element, instead of each <activity>. This way, every activity inherits the value, provides
the search dialog, and delivers searches to the same searchable activity. (If you have multiple searchable activities, you
can override the default searchable activity by placing a different <meta-data> declaration inside individual activities.)

With the search dialog now enabled for your activities, your application is ready to perform searches.

Invoking the search dialog

As mentioned above, the device SEARCH button will open the search dialog as long as the current activity has declared
in the manifest the searchable activity to use.

However, some devices do not include a dedicated SEARCH button, so you should not assume that it's always available.
When using the search dialog, you must always provide another search button in your UI that activates the search
dialog by calling onSearchRequested().

For instance, you should either provide a menu item in your Options Menu or a button in your activity layout that activates
search by calling onSearchRequested(). The search_icons.zip file includes icons for medium and high density
screens, which you can use for your search menu item or button (low-density screens scale-down the hdpi image by one
half).

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You can also enable "type-to-search" functionality, which activates the search dialog when the user starts typing on the
keyboard—the keystrokes are inserted into the search dialog. You can enable type-to-search in your activity by calling
setDefaultKeyMode(DEFAULT KEYS SEARCH LOCAL) during your activity's onCreate() method.

The impact of the search dialog on your activity lifecycle

The search dialog is a Dialog that floats at the top of the screen. It does not cause any change in the activity stack, so
when the search dialog appears, no lifecycle methods (such as onPause () ) are called. Your activity just loses input
focus, as input focus is given to the search dialog.

If you want to be notified when the search dialog is activated, override the onSearchRequested() method. When the
system calls this method, it is an indication that your activity has lost input focus to the search dialog, so you can do any
work appropriate for the event (such as pause a game). Unless you are passing search context data (discussed below),
you should end the method by calling the super class implementation. For example:

@Override

public boolean onSearchRequested() {
pauseSomeStuff ();
return super.onSearchRequested () ;

If the user cancels search by pressing the BACK button, the search dialog closes and the activity regains input focus. You
can register to be notified when the search dialog is closed with setOnDismissListener () and/or
setOnCancelListener (). You should need to register only the OnDismissListener, because it is called every time
the search dialog closes. The OnCancelListener only pertains to events in which the user explicitly exited the search
dialog, so it is not called when a search is executed (in which case, the search dialog naturally disappears).

If the current activity is not the searchable activity, then the normal activity lifecycle events are triggered once the user
executes a search (the current activity receives onPause () and so forth, as described in the Activities document). If,
however, the current activity is the searchable activity, then one of two things happens:

a. By default, the searchable activity receives the ACTION SEARCH intent with a call to onCreate() and anew
instance of the activity is brought to the top of the activity stack. There are now two instances of your searchable
activity in the activity stack (so pressing the BACK button goes back to the previous instance of the searchable
activity, rather than exiting the searchable activity).

b. If you set android: launchMode to "singleTop", then the searchable activity receives the ACTION SEARCH
intent with a call to onNewIntent (Intent), passing the new ACTION SEARCH intent here. For example, here's
how you might handle this case, in which the searchable activity's launch mode is "singleTop":

@Override

public void onCreate (Bundle savedInstanceState) {
super .onCreate (savedInstanceState) ;
setContentView(R.layout.search) ;
handleIntent (getIntent ());

}

@Override

protected void onNewIntent (Intent intent) {
setIntent (intent) ;
handleIntent (intent) ;

}

private void handleIntent (Intent intent) {
if (Intent.ACTION SEARCH.equals(intent.getAction())) {
String query = intent.getStringExtra (SearchManager .QUERY) ;
doMySearch (query) ;

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Compared to the example code in the section about Performing a Search, all the code to handle the search intent is
now in the handleIntent () method, so that both onCreate() and onNewIntent () can execute it.

When the system calls onNewIntent (Intent), the activity has not been restarted, so the getIntent () method
returns the same intent that was received with onCreate(). This is why you should call set Intent (Intent)
inside onNewIntent (Intent) (so that the intent saved by the activity is updated in case you call get Intent () in
the future).

The second scenario using "singleTop" launch mode is usually ideal, because chances are good that once a search is
done, the user will perform additional searches and it's a bad experience if your application creates multiple instances of
the searchable activity. So, we recommend that you set your searchable activity to "singleTop" launch mode in the
application manifest. For example:

<activity android:name=".SearchableActivity"
android:launchMode="singleTop" >
<intent-filter>
<action android:name="android.intent.action.SEARCH" />
</intent-filter>
<meta-data android:name="android.app.searchable"
android: resource="@xml/searchable"/>
</activity>

Passing search context data

In some cases, you can make necessary refinements to the search query inside the searchable activity, for every search
made. However, if you want to refine your search criteria based on the activity from which the user is performing a
search, you can provide additional data in the intent that the system sends to your searchable activity. You can pass the
additional data in the APP DATA Bundle, which is included in the ACTION SEARCH intent.

To pass this kind of data to your searchable activity, override the onSearchRequested() method for the activity from
which the user can perform a search, create a Bundle with the additional data, and call startSearch() to activate the
search dialog. For example:

@Override
public boolean onSearchRequested() {
Bundle appData = new Bundle();
appData.putBoolean (SearchableActivity.JARGON, true) ;
startSearch(null, false, appData, false) ;
return true;

Returning "true" indicates that you have successfully handled this callback event and called startSearch() to activate
the search dialog. Once the user submits a query, it's delivered to your searchable activity along with the data you've
added. You can extract the extra data from the APP DATA Bundle to refine the search. For example:

Bundle appData = getIntent().getBundleExtra(SearchManager.APP DATA) ;
if (appData != null) {

boolean jargon = appData.getBoolean (SearchableActivity.JARGON) ;
}

Caution: Never call the startSearch() method from outside the onSearchRequested() callback method. To
activate the search dialog in your activity, always call onSearchRequested(). Otherwise, onSearchRequested
_() is not called and customizations (such as the addition of appData in the above example) are missed.

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Using the Search Widget

The SearchView widget is available in

Android 3.0 and higher. If you're Q

developing your application for Android Ln — =a
3.0 and have decided to use the search
widget, we recommend that you insert
the search widget as an action view in
the Action Bar, instead of using the search dialog (and instead of placing the search widget in your activity layout). For
example, figure 2 shows the search widget in the Action Bar.

Figure 2. The SearchView widget as an "action view" in the Action Bar.

The search widget provides the same functionality as the search dialog. It starts the appropriate activity when the user
executes a search, and it can provide search suggestions and perform voice search.

Note: When you use the search widget as an action view, you still might need to support using the search dialog,
for cases in which the search widget does not fit in the Action Bar. See the following section about Using both the
widget and the dialog.

Configuring the search widget

After you've created a searchable configuration and a searchable activity, as discussed above, you need to enable
assisted search for each SearchView. You can do so by calling setSearchableInfo() and passing it the
SearchableInfo object that represents your searchable configuration.

You can get a reference to the SearchableInfo by calling getSearchableInfo() on SearchManager.

For example, if you're using a SearchView as an action view in the Action Bar, you should enable the widget during the
onCreateOptionsMenu () callback:

@Override

public boolean onCreateOptionsMenu (Menu menu) ({
// Inflate the options menu from XML
MenuInflater inflater = getMenulInflater() ;
inflater.inflate(R.menu.options_menu, menu) ;

// Get the SearchView and set the searchable configuration

SearchManager searchManager = (SearchManager) getSystemService
(Context .SEARCH SERVICE) ;
SearchView searchView = (SearchView) menu.findItem

(R.id.menu_search) .getActionView() ;

searchView. setSearchableInfo (searchManager.getSearchableInfo (getComponentName
Gas

searchView.setIconifiedByDefault (false); // Do not iconify the widget; expand it
by default

return true;

That's all you need. The search widget is now configured and the system will deliver search queries to your searchable
activity. You can also enable search suggestions for the search widget.

Note: If you want to handle all user input yourself, you can do so with some callback methods and event listeners.
For more information, see the reference documentation for SearchView and its nested interfaces for the
appropriate event listeners.

For more information about action views in the Action Bar, read the Action Bar developer guide (which includes sample
code for adding a search widget as an action view).

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Other search widget features
The SearchView widget allows for a few additional features you might want:

A submit button
By default, there's no button to submit a search query, so the user must press the "Return" key on the keyboard to
initiate a search. You can add a "submit" button by calling setSubmitButtonEnabled(true).

Query refinement for search suggestions
When you've enabled search suggestions, you usually expect users to simply select a suggestion, but they might
also want to refine the suggested search query. You can add a button alongside each suggestion that inserts the
suggestion in the search box for refinement by the user, by calling setQueryRefinementEnabled(true).

The ability to toggle the search box visibility
By default, the search widget is “iconified," meaning that it is represented only by a search icon (a magnifying glass),
and expands to show the search box when the user touches it. As shown above, you can show the search box by
default, by calling set lconifiedByDefault (false). You can also toggle the search widget appearance by
calling setIconified().

There are several other APIs in the SearchView class that allow you to customize the search widget. However, most of
them are used only when you handle all user input yourself, instead of using the Android system to deliver search queries
and display search suggestions.

Using both the widget and the dialog

If you insert the search widget in the Action Bar as an action view, and you enable it to appear in the Action Bar "if there is
room" (by setting android: showAsAction="ifRoom"), then there is a chance that the search widget will not appear
as an action view, but the menu item will appear in the overflow menu. For example, when your application runs on a
smaller screen, there might not be enough room in the Action Bar to display the search widget along with other action
items or navigation elements, so the menu item will instead appear in the overflow menu. When placed in the overflow
menu, the item works like an ordinary menu item and does not display the action view (the search widget).

To handle this situation, the menu item to which you've attached the search widget should activate the search dialog
when the user selects it from the overflow menu. In order for it to do so, you must implement onOptionsItemSelected
_() to handle the "Search" menu item and open the search dialog by calling onSearchRequested().

For more information about how items in the Action Bar work and how to handle this situation, see the Action Bar
developer guide.

Also see the Searchable Dictionary for an example implementation using both the dialog and the widget.

Adding Voice Search

You can add voice search functionality to your search dialog or widget by adding the android: voiceSearchMode
attribute to your searchable configuration. This adds a voice search button that launches a voice prompt. When the user
has finished speaking, the transcribed search query is sent to your searchable activity.

For example:

<?xml version="1.0" encoding="utf£-8"?>

<searchable xmlns:android="http://schemas.android.com/apk/res/android"
android: label="@string/search_label"
android:hint="@string/search_hint"
android: voiceSearchMode="showVoiceSearchButton|launchRecognizer" >

</searchable>

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The value showVoiceSearchButton is required to enable voice search, while the second value, LaunchRecognizer,
specifies that the voice search button should launch a recognizer that returns the transcribed text to the searchable

activity.

You can provide additional attributes to specify the voice search behavior, such as the language to be expected and the
maximum number of results to return. See the Searchable Configuration reference for more information about the

available attributes.

Note: Carefully consider whether voice search is appropriate for your application. All searches performed with the

voice search button are immediately sent to your searchable activity without a chance for the user to review the
transcribed query. Sufficiently test the voice recognition and ensure that it understands the types of queries that the

user might submit inside your application.

Adding Search Suggestions

Both the search dialog and the search widget can provide search
suggestions as the user types, with assistance from the Android
system. The system manages the list of suggestions and handles the
event when the user selects a suggestion.

You can provide two kinds of search suggestions:

Recent query search suggestions
These suggestions are simply words that the user previously used
as search queries in your application.

See Adding Recent Query Suggestions.

Custom search suggestions
These are search suggestions that you provide from your own
data source, to help users immediately select the correct spelling
or item they are searching for. Figure 3 shows an example of
custom suggestions for a dictionary application—the user can
select a suggestion to instantly go to the definition.

See Adding Custom Suqaestions

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analogy
n, drawing a comparison in order to show a simi...

analyst
n. someone who is skilled at analyzing data

analyze
v. break down into components or essential fea...

anchor
vv. fix fiemly and stably

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Figure 3. Screenshot of a search dialog
with custom search suggestions.

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